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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
__________________________________________
                                          :
FIDELITY BROKERAGE SERVICES LLC,           :
900 Salem Street                           :
Smithfield, RI 02917,                      :
                                           :
                          Plaintiff,       :
                                           :
       v.                                  :    CASE NO. 1:20-cv-2133
                                           :
JENNIFER TAYLOR,                           :
606 Prairie Avenue                         :
Glen Ellyn, IL 60137                       :
                                           :
                                           :
                          Defendant.       :


                PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

        Plaintiff Fidelity Brokerage Services LLC (“Fidelity”), by and through its undersigned

counsel, and for the reasons stated in the accompanying memorandum of law and other supporting

documents, respectfully requests that the Court enter a preliminary injunction against the

Defendant providing for the relief sought in Fidelity’s proposed Order.


Dated: April 3, 2020                                Respectfully submitted,

                                                    FISHER & PHILLIPS LLP

                                                    /s/ Joel W. Rice
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